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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JEREMY R. JEHANGIRI
     HENRY Z. CARBAJAL III
 3   Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099
 6   Attorneys for the
          United States of America
 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
                                           )   CASE NO.:    1:06-cr-00365-LJO
11   UNITED STATES OF AMERICA,             )
                                           )
12                     Plaintiff,          )
                                           )   STIPULATION AND PROTECTIVE
13                                         )   ORDER BETWEEN THE UNITED
                v.                         )   STATES AND DEFENDANTS
14                                         )
                                           )
15   ABDEL BESET JAWAD,                    )
       aka Fred Jawad,                     )
16   ABDUL MUNIEM MOHAMAD JAWAD,           )
       aka Manny Jawad,                    )
17   NAJEH KAMAL JAWAD,                    )
       aka Alex Jawad,                     )
18   HUSSEIN ALI, and                      )
     HUSAM SARAMA,                         )
19     aka Sam Sarama,                     )
                                           )
20                     Defendants.         )
                                           )
21
22        WHEREAS, the discovery in this case is voluminous and contains a
23   large amount of personal information including but not limited to Tax
24   Return information, Social Security numbers, dates of birth, bank
25   account   numbers,    telephone    numbers,    and    residential       addresses
26   (“Protected Information”); and
27        WHEREAS, the parties desire to avoid both the necessity of large
28   scale redactions and the unauthorized disclosure or dissemination of
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 1   this information to anyone not a party to the court proceedings in this
 2   matter;
 3        The parties agree that entry of a stipulated protective order is
 4   appropriate.
 5        THEREFORE, Defendants ABDEL BESET JAWAD, aka Fred Jawad, ABDUL
 6   MUNIEM MOHAMAD JAWAD, aka Manny Jawad, NAJEH KAMAL JAWAD, aka Alex
 7   Jawad, HUSSEIN ALI, and HUSAM SARAMA, aka Sam Sarama, by and through
 8   their respective counsel of record (“Defense Counsel”), and the United
 9   States of America, by and through Assistant United States Attorneys
10   Jeremy R. Jehangiri and Henry Z. Carbajal III, hereby agree and
11   stipulate as follows:
12        1.     This Court may enter a protective order pursuant to Rule 16(d)
13   of the Federal Rules of Criminal Procedure, and its general supervisory
14   authority.
15        2.     This Order pertains to all discovery provided to or made
16   available    to   Defense   Counsel   as   part   of   discovery   in   this   case
17   (hereafter, collectively known as “the discovery”).
18        3.     By signing this Stipulation and Protective Order, Defense
19   Counsel agrees not to share any documents that contain Protected
20   Information with anyone other than Defense Counsel attorneys, designated
21   defense investigators, and support staff.          Defense Counsel may permit
22   the Defendant to view unredacted documents in the presence of his
23   attorney, defense investigators, and support staff.           The parties agree
24   that Defense Counsel, defense investigators, and support staff shall not
25   allow the Defendant to copy Protected Information contained in the
26   discovery.        The   parties   agree    that    Defense   Counsel,     defense
27   investigators, and support staff may provide the Defendant with copies
28   of documents from which Protected Information has been redacted.



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 1        4.   The discovery and information therein may be used only in
 2   connection with the litigation of this case and for no other purpose.
 3   The discovery is now and will forever remain the property of the United
 4   States of America (“Government”).         Defense Counsel will return the
 5   discovery to the Government or certify that it has been shredded at the
 6   conclusion of the case.
 7        5.   Defense Counsel will store the discovery in a secure place and
 8   will use reasonable care to ensure that it is not disclosed to third
 9   persons in violation of this agreement.
10        6.   Defense Counsel shall be responsible for advising his/her
11   Defendant, employees, and other members of the defense team, and defense
12   witnesses of the contents of this Stipulation and Order.
13        7.   In the event that Defendant substitutes counsel, undersigned
14   Defense Counsel agrees to withhold discovery from new counsel unless and
15   until substituted counsel agrees also to be bound by this Order.
16        IT IS SO STIPULATED.
17
18   DATED: May 16, 2011                 By /s/ Salvatore Sciandra
                                            Salvatore Sciandra
19                                          Attorney for Defendant
                                            ABDEL BASET JAWAD,
20                                          aka Fred Jawad
21
22   DATED: May 16, 2011                 By /s/ Anthony P. Capozzi
                                            Anthony P. Capozzi
23                                          Attorney for Defendant
                                            NAJEH KAMAL JAWAD,
24                                          aka Alex Jawad
25
26   DATED: May 16, 2011                 By /s/ Roger K. Litman
                                            Roger K. Litman
27                                          Attorney for Defendant
                                            ABDUL MUNIEM MOHAMAD JAWAD,
28                                          aka Manny Jawad



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 2
     DATED: May 16, 2011                  By /s/ Katherine Hart
 3                                           Katherine Hart
                                             Attorney for Defendant
 4                                           HUSSEIN ALI
 5
     DATED: May 16, 2011                  By /s/ Jeffrey T. Hammerschmidt
 6                                           Jeffrey T. Hammerschmidt
                                             Attorney for Defendant
 7                                           HUSAM SARAMA,
                                             aka Sam Sarama
 8
 9
     DATED: May 16, 2011                        BENJAMIN B. WAGNER
10                                              United States Attorney
11
                                        By:      /s/ Jeremy R. Jehangiri
12                                              JEREMY R. JEHANGIRI or
                                                HENRY Z. CARBAJAL III
13                                              Assistant U.S. Attorneys
14
15
     IT IS SO ORDERED.
16
     Dated:   May 17, 2011                 /s/ Lawrence J. O'Neill
17   b9ed48                            UNITED STATES DISTRICT JUDGE
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